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                               BEFORE THE JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION


In re: MOVEIT CUSTOMER              )                     MDL Docket No. 3083
DATA SECURITY                       )
BREACH LITIGATION                   )
____________________________________)


   INTERESTED PARTY PLAINTIFFS EDWARD CASEY, JERRY MCDANIEL,
BARBARA CRUCIATA, JENNIFER HOPKINS, CHRISTOPHER ARDEN, MEAGHAN
 ALLEN, CRYSTAL KENNEDY, KIMBERLEE DANIELS, JAMES SMILEY, FRANK
  COOPER, AND EDWARD MARSHALL’S RESPONSE AND MEMORANDUM IN
 SUPPORT OF MOTION FOR TRANSFER AND CONSOLIDATION OF RELATED
         ACTIONS FOR CENTRALIZED PRETRIAL PROCEEDINGS
                    PURSUANT TO 28 U.S.C. § 1407

                                     I.      INTRODUCTION

        Plaintiffs and Interested Parties Edward Casey, Jerry McDaniel, Barbara Cruciata, Jennifer

Hopkins, Christopher Arden, Meaghan Allen, Crystal Kennedy, Kimberlee Daniels, James Smiley,

Frank Cooper, and Edward Marshall are named Plaintiffs in the following actions pending in

federal district courts (henceforth, “Plaintiffs”):

       Edward Casey v. Progress Software Corporation; Pension Benefit Information, LLC d/b/a

        PBI Research Services; Talcott Resolution Life Insurance Company; and Talcott

        Resolution Life and Annuity Insurance Company, D. Mass. Case No. 1:23-cv-11864;

       Jerry McDaniel and Barbara Cruciata v. Progress Software Corporation; and Maximus

        Federal Services, Inc., D. Mass. Case No. 1:23-cv-11939;

       Jennifer Hopkins v. Progress Software Corporation; Trillium Community Health Plan,

        Inc.; and Performance Health Technology, Ltd., D. Or. Case No. 3:23-cv-01259;




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      Christopher Arden v. Progress Software Corporation; Pension Benefit Information, LLC

       d/b/a PBI Research Services; and Prudential Insurance Co., D. Mass. Case No. 1:23-cv-

       12015;

      Meaghan Allen and Crystal Kennedy v. Progress Software Corporation, D. Mass. Case

       No. 1:23-cv-11984;

      Kimberlee Daniels v. Progress Software Corporation and International Business Machines

       Corporation d/b/a IBM, D. Mass. Case No. 1:23-cv-12010;

      James Smiley v. Progress Software Corporation Pension Benefit Information, LLC d/b/a

       PBI Research Services; Milliman, Inc. d/b/a Milliman Intelliscript; Milliman Solutions

       LLC; The Independent Order of Foresters d/b/a Foresters Financial; and Foresters

       Financial Holding Company, Inc., W.D. Wash. Case No. 2:23-cv-01354;

      Frank Cooper v. Progress Software Corporation; Pension Benefit Information, LLC d/b/a

       PBI Research Services; Fidelity Investments Institutional Operations Co., Inc.; Bank of

       America Corp.; F&G Annuities & Life, Inc.; and Corebridge Financial, Inc., D. Mass.

       Case No. 1:23-cv-12067; and

      Edward Marshall v. Progress Software Corporation; Pension Benefit Information, LLC

       d/b/a PBI Research Services; and Teachers Insurance and Annuity Association of America,

       S.D.N.Y. Case No. 1:23-cv-07822.

       Plaintiffs support in part Movant Bruce Bailey’s Motion for Centralization pursuant to 28

U.S.C. § 1407 (the “Motion”). All Related Actions involve one or more common questions of fact

and will involve common legal theories. At the core of each case are allegations of a vulnerability

in Progress Software Corporation’s (“Progress’s”) MOVEit File Transfer Software application that

allowed an unauthorized third party to access Plaintiffs’ and putative Class Members’ sensitive


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and confidential personally identifiable information (“PII”). This vulnerability resulted in a

massive security breach that has adversely impacted millions of consumers and patients

nationwide. Many Defendants in the Related Actions who utilized Progress’s MOVEit software,

including Pension Benefit Information, LLC (“PBI”), recognize that the District of Massachusetts

is the center of gravity for this litigation and support consolidation and transfer of all federal actions

regarding the MOVEit File Transfer software data breaches to District of Massachusetts.

        Consolidation and transfer are appropriate under 28 U.S.C. § 1407. Although Plaintiffs

join in Movant’s centralization arguments, Plaintiffs disagree that consolidation in the District

Court of Minnesota is appropriate. The district that is the most appropriate venue for this litigation

is the District of Massachusetts, which is the epicenter of the case for at least the following reasons:

       More Actions (22) are pending in the District of Massachusetts than in any other single

        district;

       Defendant Progress has its principal place of business located at 15 Wayside Road,

        Burlington, Massachusetts, within the District of Massachusetts;

       Defendant Progress is named as a defendant in most Actions;

       Defendant Progress created and maintains the MOVEit software in the District of

        Massachusetts;

       The District of Massachusetts is where Progress licensed its MOVEit software for use by

        various other defendants;

       Discovery in all the Related Actions will necessarily focus on a core set of documents,

        witnesses, and other evidence in the District of Massachusetts pertaining to Progress’s

        MOVEit software;

       The District of Massachusetts, therefore, has a significant interest in the litigation;


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      The District of Massachusetts has experienced jurists who have presided over many

       complex cases and MDLs; and

      The District of Massachusetts is a convenient and accessible venue.

       By contrast, other districts, such as the District of Minnesota (proposed by Movant), have

minimal, immaterial connections with this litigation.

       Plaintiffs respectfully request that the Panel consolidate and transfer all federal actions

regarding the MOVEit File Transfer software data breach to the United States District Court for

the District of Massachusetts, which is supported by the majority of parties that filed briefing.

                                     II.     BACKGROUND

       There are currently (81) actions (the “Related Actions” or “Actions”) pending in 18

federal district courts in the following 14 states relating to the MOVEit data breach: California,

Illinois, Louisiana, Maryland, Massachusetts, Minnesota, Nebraska, New Jersey, New York,

Oklahoma, Oregon, Washington, Wisconsin, and Virginia. Twenty-two of the cases are pending

in the District of Massachusetts; twelve in the District of Minnesota; eight in the Southern District

of New York and Eastern District of Virginia; five in the District of Maryland; four in the Western

District of Washington; three in the Central District of California, Northern District of California,

District of Nebraska, and Eastern District of Louisiana; two in the District of Oregon and Northern

District of Illinois; and only one in the remainder of the relevant districts. See Exhibit A.1 Progress

is a defendant in 41 of these Actions. All the cases were filed in the last six to eight weeks, and

no dispositive motion practice or discovery has occurred in any Action.



   1
      Although Plaintiffs know of no other related cases pending in federal courts as of the date of
this filing other than those listed in Exhibit A, it is possible that additional cases have been filed
and will continue to be filed as additional organizations announce data breaches relating to their
use of Progress’s MOVEit software.
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       The transfer of these Actions will promote their just and efficient prosecution and serve the

convenience of the parties and witnesses. See 28 U.S.C. § 1407. Central to each case is a massive

data breach of Progress’s MOVEit File Transfer software, precipitated by a Russian ransomware

group. The breach has impacted more than 43 million consumers and patients in the United States

whose PII was stolen from dozens of organizations—including Defendants PBI, Talcott

Resolution Life Insurance Company, Maximus Federal Services, Inc., Trillium Community Health

Plan, Inc. Performance Health Technology, Ltd., Prudential Insurance Co., IBM, Milliman, Inc.,

Fidelity Investments, Bank of America Corp., F&G Annuities & Life, Inc., Corebridge Financial,

Inc., Johns Hopkins Health System, Teachers Insurance and Annuity Association of America—

that used the MOVEit software.

       Given the extensive overlap in factual allegations, the plaintiffs in each case will seek

overlapping discovery relating to the development and implementation of the MOVEit File

Transfer software, the vulnerabilities on PSC’s MOVEit software, PSC’s knowledge and

disclosure of the vulnerabilities to users of the MOVEit software, the alleged breaches, and the

personal identifying information compromised in the intrusions. All Actions implicate the same

core nucleus of facts resulting in the exposure of the sensitive PII of millions of individuals whose

data was transferred and stored using the MOVEit software applications. Centralization will

minimize the burden of discovery on all parties and ensure that the parties do not face competing

and inconsistent rulings and discovery obligations.

       The Actions are all class actions with overlapping classes and overlapping legal claims

commonly sounding in negligence, breach of contract, invasion of privacy, and unjust enrichment.

Beyond discovery, motion practice in each of the cases filed to date would require 18 courts to

evaluate and rule on the same common issues when addressing and ruling upon dispositive motions


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and class certification. As pointed out by Progress (see ECF. No. 142), it will be necessary to

assert common defenses to the Actions and seek critical pretrial rulings that will overlap in

numerous cases, including summary judgement and class certification. Other defendants will also

raise the same common defenses. Absent centralization, there will be a race in all the Actions, each

of which will be pressed to decide overlapping common issues; inefficiencies, burden, and

inconsistent procedural and substantive rulings will ensue. Thus, centralization is the best option

to spare these different courts and the parties from duplicative motion practice involving the same

common issues and defenses, as well as potentially inconsistent rulings.

                                       III.    ARGUMENT

A.     Transferring the Related Actions for coordinated pretrial proceedings is proper.

       28 U.S.C. § 1407 authorizes this Panel to transfer and consolidate two or more civil cases

for coordinated pretrial proceedings upon the determination that (i) they “involv[e] one or more

common questions of fact,” (ii) transfer will further “the convenience of parties and witnesses,”

and (iii) transfer “will promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407(a).

The principal goals of 28 U.S.C. § 1407 are to avoid duplicative discovery, prevent inconsistent

or repetitive rulings, promote efficient management of litigation, and conserve the resources of the

parties, counsel, and the courts. See MANUAL ON COMPLEX LITIGATION § 22.33 at 367 (4th ed.

2004). “Centralization under Section 1407 is necessary in order to eliminate duplicative discovery,

prevent inconsistent pretrial rulings (especially with respect to class certification matters), and

conserve the resources of the parties, their counsel and the judiciary.” In re Methyl Methacrylate

(MMA) Antitrust Litig., 435 F. Supp. 2d 1345, 1347 (J.P.M.L. 2006); In re SoClean, Inc., Mktg.,

Sales Pracs. & Prod. Liab. Litig., 585 F. Supp. 3d 1355, 1356 (J.P.M.L. 2022). Furthermore,

“[t]ransfer under section 1407 does not require a complete identity of common factual issues or


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parties as a prerequisite to transfer, and the presence of additional facts or differing legal theories

is not significant where … the actions still arise from a common factual core.” In re FTX

Cryptocurrency Exch. Collapse Litig., No. MDL 3076, 2023 WL 3829242, at *2 (J.P.M.L.) (citing

In re Auto Body Shop Antitrust Litig., 37 F. Supp. 3d 1388, 1390-91 & n.5 (J.P.M.L. 2014)).

       1.      The Related Actions involve common questions of fact and law.

               a.      The MOVEit software is central to each Action, even where Progress is
                       not a defendant.

       The Related Actions are all based on a breach of Defendant Progress’s MOVEit software

and involve the same or substantially similar questions of law and fact. Common questions of fact

exist across all the Related Actions, namely the vulnerability of the MOVEit software and extent

of the MOVEit data Incident, which is the subject of and the basis for each Related Action.

Questions pertain to the security vulnerabilities in the MOVEit software that allowed an

unauthorized third-party to gain access in late May 2023 and exploit millions of innocent

individuals’ personal information. Front and center in each action is the MOVEit software and

Progress’s conduct and failures to maintain adequate software and data security measures to

prevent access by an unauthorized party.

       Plaintiffs’ claims in all the Actions invoke other common questions such as the alleged

wrongdoing by Progress and MOVEit’s users such as PBI related to data security practices and

procedures, Progress’s and others’ investigation and response to the MOVEit breach, and the

breach notifications provided to consumers. Although MOVEit users are not the same in every

action, the basis of each claim against them is the same, that is, each MOVEit customer was

impacted by the exploitation by Russian cyber hackers of a “zero-day” vulnerability that resulted

in the MOVEit Incident. As such, the same or similar defenses will be raised across all the Actions




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by the Defendants. Additional common questions of fact and law at issue in the Related Actions

include, but are not limited to, the following:

       a. whether Defendants violated state tort, contract, and equitable-based principles by

           failing to properly secure Plaintiffs’ and putative Class Members’ PII;

       b. whether Plaintiffs are entitled to declaratory relief;

       c. whether the proposed putative Classes should be certified; and

       d. whether Defendants’ conduct caused injury to Plaintiffs and the putative Classes and,

           if so, in what amount.

       Centralization is appropriate here because, as the Panel has previously recognized, the

factual questions that would arise in every action would include “[Progress’s] data security

practices and whether those practices met industry standards, how the unauthorized actor . . .

obtained access . . ., the extent of the personal information affected by the breach, and when

[Progress] knew or should have known of[vulnerabilities and the subsequent] breach.” In re T-

Mobile 2022 Customer Data Sec. Breach Litig., MDL No. 3073, 2023 WL 3829244, at *1

(J.P.M.L.. June 2, 2023); see, e.g., In re KeyBank Customer Data Sec. Breach Litig., MDL No.

3056, 2023 WL 1811824, at *1 (J.P.M.L. Feb. 1, 2023) (similar); In re Blackbaud, Inc., Customer

Data Sec. Breach Litig., 509 F. Supp. 3d 1362, 1364 (J.P.M.L. 2020);In re Am. Med. Collection

Agency, Inc., Customer Data Sec. Breach Litig., 410 F. Supp. 3d 1350, 1353 (J.P.M.L. 2019)

(centralizing proceedings because factual inquiries “concerning [breached third-party vendor’s]

data security practices, how the unauthorized access occurred, and the investigation into the breach

will be substantially the same in all actions”). Even in the cases brought against solely the user of

the MOVEit software and not against Progress, Plaintiffs will necessarily rely on the same

allegations related to the MOVEit security incident. See, e.g., King Compl. ¶ 4; Hauser Compl. ¶


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36. This demonstrates that the MOVEit software and Progress’s conduct will be central to each

action in terms of establishing and/or apportioning Progress’s fault for the security vulnerability

and resulting breaches, even where the conduct of the defendant users of the MOVEit software

will also be at issue.2    Indeed, users’ purported failure to follow Progress’s directions or

instructions will very likely be a central defense raised by Progress in each and every case, when

the users seek to either implead Progress or point to the “empty chair” in those cases where

Progress is not already a defendant. 3

                b.     Parties arguing against centralization misread § 1407 and misapply
                       Accellion.

       Oppositions to centralization contending that tag-along Actions that do not specifically

name Progress or PBI as a defendant cannot be centralized undermine the purpose of 28 U.S.C. §

1407. That certain customers of Progress are named as sole defendants in some actions (such as

Johns Hopkins or TIAA in some, but not all, cases against those defendants) or co-defendants in

others (with PBI and/or Progress), and that different parties may be subject to different theories of



   2
      Plaintffs note that the Plaintiff Jose Soto, citing an expert declaration, opposes consolidation
by arguing that Progress hands off to users control of the security features offered by the MOVEit
software and puts the burden on those users to perform regular security audits that would have
easily prevented hackers from exploiting the MOVEit vulnerability. Thus, the argument goes,
focus should be on the users and not Progress. See generally Dkt. No. 240. This argument against
consolidation is not well taken for at least three reasons. First, the expert’s opinion is obviously
untested and, therefore, the Panel should accord it no weight. Second, even if the opinion were
potentially viable, whether users should have taken certain precautions that would have been
effective is the type of common factual question that should be uniformly addressed by a transferee
court. Third, Mr. Soto’s argument ignores the critical fact that should not be overlooked: the
MOVEit software itself had a vulnerability (as even Mr. Soto’s expert acknowledges). It is the
root, common cause of all MOVEit data breaches, and discovery into that vulnerability will be
needed in all cases, without regard to what users purportedly did or did not do to protect against
the vulnerability.
   3
      Other defendants will undoubtedly raise as a defense Progress’s conduct as a cause or
contributing cause or factor to the data breaches. As such, the facts of all these Related Actions
are connected and intertwined, which supports centralization.
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liability where Progress is absent, do not militate against centralization because § 1407 does not

require that all issues be common across all parties. See, e.g., 28 U.S.C. § 1407(a) (“When all civil

actions involving one or more common questions of fact are pending in different districts, such

actions may be transferred to any district for coordinated or consolidated pretrial proceedings.”)

(emphasis added); In re KeyBank, 2023 WL 1811824, at *1; In re Am. Med. Collection Agency,

Inc., Customer Data Sec. Breach Litig., 410 F. Supp. 3d at 1353-54 (“Section 1407 does not require

a complete identity of common factual issues or parties as a prerequisite to transfer, and the

presence of additional facts is not significant where the actions arise from a common factual core”;

ordering transfer and centralization, recognizing that a “single, multi-defendant MDL” is

“necessary to ensure the just and efficient conduct of this litigation”); In re Uber Tech., Inc., Data

Sec. Breach Litig., 304 F. Supp. 3d 1351, 1353 (J.P.M.L. 2018); In re Sonic Corp. Customer Data

Sec. Breach Litig., 276 F. Supp.3d 1382, 1383 (J.P.M.L. 2017); see also Joint Response of

Plaintiffs Mitchell, Guillory-Callier, and Deutsch [ECF Doc. 77] at 4 (complaints naming PBI

alone also should be transferred); id. at 6 (cases not naming Progress should be transferred because

“they nevertheless concern the instant MOVEit Data Breach”).

       This Panel has previously explained4 that the focus is on whether one or more key issues



   4
      See, e.g., In re 100% Grated Parmesan Cheese Mktg. & Sales Practices Litig., 201 F. Supp.
3d 1375, 1376 (J.P.M.L. 2016) (“Although the advocates of separate MDLs have identified certain
product-specific issues, Section 1407 does not require a complete identity of factual issues or
parties as a prerequisite to transfer, and the presence of additional facts is not significant when the
actions arise from a common factual core. We are confident that the transferee judge can
accommodate any issues involving the different products and defendants, including confidentiality
and defendant-specific resolutions, in a manner that guarantees the just and efficient resolution of
all cases.”); In re: fairlife Milk Products Marketing and Sales Practices Litig., MDL No. 2909,
ECF No. 73, Transfer Order at 1 (“Plaintiff is correct that her allegations differ from those asserted
by plaintiffs in the MDL—she seeks to represent a putative class of purchasers of Fair Oaks’ milk
products, as opposed to purchasers of fairlife, LLC’s milk products. These differences, though,
are outweighed by the similarities between Honeycutt and the actions in the MDL.”).
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of fact overlap, which clearly happens here. Factual issues regarding MOVEit’s vulnerability,

how the cybercriminals accessed and exfiltrated data, and Progress’s response thereto (which

affected all the various defendants) are implicated across all the cases. See, e.g., In re KeyBank,

2023 WL 1811824, at *1-2; In re Am. Med. Collection Agency, Inc., Customer Data Sec. Breach

Litig., 410 F. Supp. 3d at 1353; In re Uber Tech., Inc., Data Sec. Breach Litig., 304 F. Supp. 3d at

1354-55. That some of Progress’s users are named as sole defendants and that there are other

individualized issues regarding any attempt to shift liability onto entities downstream from

Progress does not defeat the efficiencies to be gained from coordination. See, e.g., In re Am. Med.

Collection Agency, Inc., Customer Data Sec. Breach Litig., 410 F. Supp. 3d at 1353-54; In re

Marriott Int’l, Inc., Customer Data Sec. Breach Litig., 363 F. Supp. 3d 1372, 1374 (J.P.M.L.

2019); In re Uber Tech., Inc., Data Sec. Breach Litig., 304 F. Supp. at 1354-55. In every action,

the MOVEit software is the hub of the wheel. Indeed, not one party in any of the Related Actions

disputes that all the actions are centrally related or tied to the May 2023 cyberattack and data

exfiltration from the MOVEit file transfer software.

       Oppositions to centralization all cite In re Accellion, Inc., Customer Data Sec. Breach

Litig., 543 F. Supp. 3d 1372 , 1373 (J.P.M.L 2021), where the Panel denied centralization “given

the small number of involved courts and the preference of most parties to informally coordinate.”

Id. In Accellion, the actions were pending in just three courts before three judges, and most parties

preferred informal coordination over centralization. Id.5 But this case is not like Accellion, save

for the fact that both groups of actions involve a data breach. First, most parties here support



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     Accellion involved only 26 actions and potential tag-along actions; nine named only Accellion
as the Defendant; ten named only one Accellion client; and seven were multi-defendant actions
naming Accellion and one of its Clients (Kroger, Flagstar Bank, or potential tag-along defendants
Health net of California, Inc. and Health net , L.L.C.) See id.
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centralization and the advantages and efficiencies that it provides and do not believe that informal

coordination will work. The Panel has previously found that where many parties—and especially

plaintiffs—do not support §1404 centralization or informal coordination, it is doomed to failure,

and §1407 transfer and consolidation is preferred. See In re Chrysler Pacifica Fire Recall Prod.

Liab. Litig., 619 F. Supp. 3d 1349, 1351 (J.P.M.L. 2022) (“Considering the number of involved

districts, the wholesale absence of any transfer activity, and the potential tag-along actions, we

find that transfer under Section 1404 or the first to file rule does not provide a reasonable prospect

for eliminating the multidistrict character of this litigation”); see also In re Natrol, Inc.,

Glucosamine/ Chondroitin Mktg. & Sales Practices Litig., 26 F. Supp. 3d 1392, 1393 (J.P.M.L.

2014).

         The second factor making Accellion inapposite is the sprawling nature of the Related

Actions here. The MOVEit breach is one of the biggest, if not the biggest, data breach to result in

litigation, impacting an estimated 60 million consumers and patients and hundreds if not thousands

of companies.6 Currently, there are at least 81 MOVEit breach class actions filed across 18

districts, of which 43 name Progress as a sole or co-defendant, and many more cases are expected

to be filed over the next year as companies continue to send breach notices to consumers. In

contrast again, Accellion was much smaller in scope with actions pending in just three courts. The

number of involved districts, the geographical dispersion thereof, the number of plaintiffs’ counsel,

and varying combinations of defendants render informal coordination an impracticable alternative

to 1407 centralization. See, e.g., In re Uber Tech., Inc., Data Sec. Breach Litig., 304 F. Supp. 3d

at 1354; In re Equifax, Inc., Customer Sec. Data Breach Litig., 289 F. Supp. 3d 1322, 1325



   6
      https://techcrunch.com/2023/08/25/moveit-mass-hack-by-the-numbers/ (last visited Sept.
19, 2023)
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(J.P.M.L. 2017). The MOVEit software is the common touchstone of every claim, and every

defendant who failed to prevent the data breach. Because numerous common issues of fact exist

among these Actions, the first element of the transfer analysis under Section 1407 is satisfied.

       2.      Consolidating the Related Actions will further the convenience of the parties
               and the witnesses.

       Consolidating the Related Actions likewise satisfies the second requirement of Section

1407 because it will serve the convenience of the parties and witnesses. Discovery in all Related

Actions will necessarily focus on documents, witnesses and other evidence pertaining to

Massachusetts Defendant Progress’s testing, development, sale, and maintenance of the MOVEit

software and Progress’s knowledge about any vulnerabilities through which hackers could

compromise the software and steal PII. These subjects are likely to be complex and technical and

will require substantial discovery.   Because all of these actions arise from a common core of

factual allegations, there is a strong likelihood of duplicative discovery demands and redundant

depositions. Consolidation will promote the convenience of the parties and efficiency in the

pretrial proceedings by eliminating duplicative discovery and the potential for inconsistent rulings,

including determinations on class certification. See, e.g., In re Uber Techs., Inc., Data Sec. Breach

Litig., 304 F. Supp. 3d at 1353 (“Centralization will eliminate duplicative discovery; prevent

inconsistent pretrial rulings, including with respect to class certification; and conserve the

resources of the parties, their counsel, and the judiciary.”); In re Pilot Flying J Fuel Rebate

Contract Litig., 11 F. Supp. 3d 1351, 1352 (J.P.M.L. 2014) (“Centralization will avoid repetitive

depositions of [the defendant’s] officers and employees and duplicative document discovery

regarding the alleged scheme.”); In re Uranium Indus. Antitrust Litig., 458 F. Supp. 1223, 1230

(J.P.M.L. 1978) (“[Plaintiffs] will have to depose many of the same witnesses, examine many of

the same documents, and make many similar pretrial motions in order to prove their . . . allegations.

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The benefits of having a single judge supervise this pretrial activity are obvious.”). Coordination

will also enable a single District Judge to establish a single pretrial schedule, thereby minimizing

inconvenience to witnesses and expense to parties.

       Absent transfer, the parties and witnesses are at risk of crisscrossing the country for

repetitive and duplicative depositions, hearings, and other proceedings. Moreover, different judges

would have to resolve many of the same pretrial issues and decide similar motions, potentially

including certification of competing class actions (should those cases survive dismissal). See, e.g.,

King Compl. ¶ 126 (putative nationwide class of individuals seeking relief against Genworth);

Anastasio Am. Compl. (ECF Doc. 10 in 1:23-cv-11442 (D. Mass.)) ¶ 161 (similar Genworth-

specific subclass). Thus, centralization “will eliminate duplicative discovery; prevent inconsistent

pretrial rulings, including with respect to class certification; and conserve the resources of the

parties, their counsel, and the judiciary.” E.g., In re T-Mobile 2022 Customer Data Sec. Breach

Litig, 2023 WL 3829244, at *1.

       3.      Transfer and consolidation will promote just and efficient conduct of the
               Related Actions.

       For these same reasons, transfer and coordination would also promote the just and efficient

adjudication of the Related Actions. The Related Actions all raise common questions of fact and

law. Plaintiffs in each action will seek to depose many of the same individuals and request

production of similar documents. As discussed above, informal coordination is impracticable.

The failure to consolidate these actions would, therefore, result in unnecessary and duplicative

discovery; witnesses would have to appear for multiple depositions; and Defendants would have

to negotiate and produce multiple sets of overlapping documents. Consolidation and coordination

of the actions avoids this needless waste of resources and confer benefits upon both Plaintiffs and

Defendants. See, e.g,, In re Neurontin Mktg. & Sales Pracs. Litig., 342 F. Supp. 2d 1350, 1351

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(J.P.M.L. 2004); In re Ephedra Prod. Liab. Litig., 314 F. Supp. 2d 1373, 1375 (J.P.M.L. 2004)

(supporting consolidation to avoid the possibility of inconsistent rulings (including inconsistent

determinations on class certification) and duplicative discovery, as well needless taxation on the

judicial system); In re Eur. Rail Pass Antitrust Litig., MDL No. 1386, 2001 WL 587855, at *1

(J.P.M.L. Feb. 7, 2001) (transferring related actions to single district to “eliminate duplicative

discovery, prevent inconsistent pretrial rulings, and conserve the resources of the parties, their

counsel and the judiciary”).

B.       The Related Actions should be transferred to the District of Massachusetts for
         coordinated or consolidated pretrial proceedings.

         In selecting a transferee district, the Panel considers “where the largest number of cases is

pending, where discovery has occurred, where cases have progressed furthest, the site of the

occurrence of the common facts, where the cost and inconvenience will be minimized, and the

experience, skill, and caseloads of available judges.” MANUAL ON COMPLEX LITIGATION § 20.131

(4th ed. 2004).7 The balance of these factors weighs in favor of transferring the related cases to

the District of Massachusetts—the epicenter giving rise to all Plaintiffs’ claims as well as defenses

to those claims.

         1.      The District of Massachusetts has the most pending Actions and is likely to be
                 the location with the most evidence and the largest number of witnesses.

         The District of Massachusetts has more pending related actions than any other district. See

In re Covidien Hernia Mesh Prods. Liab. Litig., 607 F. Supp. 3d 1356, 1358 (J.P.M.L. 2022)

(finding District of Massachusetts is the appropriate transferee district because most cases were

pending in the district, where defendant was headquartered); In re Zofran (Ondansetron) Prod.



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     The case progression and discovery occurrence factors favor no district because the cases
were all filed in the last two months and, therefore, have not progressed.
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Liab. Litig., 138 F. Supp. 3d 1381 (J.P.M.L. 2015) (similar selection of District of Massachusetts);

see also, e.g., In re Tepezza Mktg., Sales Pracs., & Prods. Liab. Litig., MDL No. 3079, 2023 WL

3829248, at *2 (J.P.M.L. June 2, 2023) (selecting transferee court with the most pending actions).

Massachusetts ostensibly will remain a focal point for new filings given Progress’s central role in

these cases and headquarters in the district. Centralization should occur in Massachusetts as a

result. See, e.g., In re KeyBank, 2023 WL 1811824, at *2 (selecting transferee district because,

inter alia, “[f]ive of the ten actions [are] pending” there).

        The District of Massachusetts is also favored because it is the site of the occurrence of

common facts. Although Plaintiffs and putative Class Members are spread throughout the nation,

Defendant Progress—the primary and most common defendant in the Related Actions—has its

headquarters in the District of Massachusetts where most of the discovery will necessarily focus.

The Panel has frequently highlighted the importance of factors such as the defendant’s location,

the locations of relevant documents, and the centrality of the location for the convenience of the

parties and the location of witnesses. The Panel has found relevant and determinative in the data

security context (and a range of others), “relevant documents and witnesses are likely to be located

[in Massachusetts]” because Progress— whose software is at the heart of this litigation—is

headquartered there. In re Samsung Customer Data Sec. Breach Litig., MDL No. 3055, 2023 WL

1811247, at *2 (J.P.M.L. Feb. 1, 2023) (transferring actions to district where defendant was

headquartered and “witnesses and other evidence likely will be found”); In re KeyBank, 2023 WL

1811824, at *2 (similar); In re Covidien, 607 F. Supp. 3d at 1358 (relying on defendant’s

Massachusetts headquarters); In re Am. Med. Collection Agency, Inc., Customer Data Sec. Breach

Litig, 410 F.Supp. 3d at 1354 (transferring actions to district where defendants “have their

headquarters [or are] located nearby”); In re Carbon Black Antitrust Litig., 277 F. Supp. 2d 1380,


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1381 (J.P.M.L. 2003) (transferring actions to the District of Massachusetts because, inter alia, “one

of the main defendants has its principal place of business in Boston, Massachusetts”); In re

Fresenius Granuflo/Naturalyte Dialysate Prods. Liab. Litig., 935 F. Supp. 2d 1362, 1363

(J.P.M.L. 2013) (finding that District of Massachusetts “stands out as an appropriate transferee

forum” because defendant Fresenius located in Massachusetts and “relevant witnesses and

documentary evidence common to all the actions are likely to be found there”); ZF-TRW Airbag

Control Units Prods. Liab. Litig., 410 F. Supp. 3d 1357, 1360 (J.P.M.L. 2019) (finding Central

District of California to be appropriate transferee forum because several defendants are

headquartered there and the relevant documents and witnesses likely will be found there); In re

Kaplan Higher Educ. Corp., 626 F. Supp. 2d 1323, 1324 (J.P.M.L. 2009) (“We are persuaded that

the Southern District of Florida is an appropriate transferee forum[,] where witnesses and

documents may be found, inasmuch as Kaplan maintains a headquarters and a place of business

there.”); In re Chocolate Confectionary Antitrust Litig., 542 F. Supp. 2d 1376, 1377 (J.P.M.L.

2008) (similar).   Having the litigation nearest to the defendant with the most discoverable

information and most relevant witnesses will promote efficiency. Indeed, defendants PBI and The

Berwyn Group, which are headquartered in Minnesota and are defendants in many actions, also

favor transfer to the District of Massachusetts because Defendant Progress “is likely to be the

target of discovery in all actions, and is already a party in most.” ECF No. 86 at 7. And Progress

itself favors centralization in Massachusetts.

       2.      The District of Massachusetts has a favorable caseload and experienced jurists
               and is a convenient location.

       The District of Massachusetts is a major metropolitan court, its judges are well-equipped

to manage complex class actions and MDLs, and the district “has the necessary judicial resources

and expertise to efficiently manage this litigation.” In re Fresenius Granuflo/Naturalyte Dialysate

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Prods. Liab. Litig., 935 F. Supp. 2d at 1363. The District of Massachusetts is not overtaxed with

other MDL dockets, as it has five MDL dockets pending compared to six for the District of

Minnesota and seventeen for the Northern District of California as of July 17, 2023.              See

https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-July-17-

2023.pdf. And the District of Massachusetts has a manageable caseload on a relative basis. Of

the 583,543 cases pending in federal district courts nationwide as of March 31, 2023, only 3,291—

or approximately ½ percent—are pending in the District of Massachusetts.                          See

https://www.uscourts.gov/statistics/table/c-1/federal-judicial-caseload-statistics/2023/03/31.

Twenty-seven districts have more pending cases. Id. Indeed, of the districts hosting Related

Actions, the District of Massachusetts has among the fewest cases. Id. (Central District of

California, 10,270 cases; Northern District of California, 12,746 cases; Northern District of

Illinois, 9,946 cases; Eastern District of Louisiana, 16,423 cases; District of Maryland, 4,047 cases;

District of Minnesota, 7,524 cases; District of New Jersey, 62,015 cases).

       Further, Boston is a major international airline hub that is reachable by direct flights from

most major U.S. cities, making travel to and from Boston convenient. The federal courthouse is

conveniently located approximately 15-20 minutes’ drive from the airport, and there are ample

hotel accommodations within easy walking distance of the courthouse. There is no question that

the District of Massachusetts “is an easily accessible district for this nationwide litigation.” In re

Evenflo Co., Mktg., Sales Pracs. & Prods. Liab. Litig., 466 F. Supp. 3d 1384, 1385 (J.P.M.L.

2020); accord In re: Solodyn (Minocycline Hydrochloride) Antitrust Litig., 999 F. Supp. 2d 1383,

1384 (J.P.M.L. 2014) (noting that the District of Massachusetts “offers a forum that is both

convenient and accessible for the parties and witnesses, particularly for the numerous defendants

that are based along the East Coast”).


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                                    IV.    CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that the Panel transfer the

Related Actions and any subsequently filed cases raising similar claims to the District of

Massachusetts for coordinated pretrial proceedings.

Dated: September 19, 2023.           Respectfully submitted,

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